       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 1 of 23




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION



 TURF CUSHION, INC., et al,

                 Plaintiffs,

 v.                                           Civil Action No. 4:21-cv-00204-LMM


 THE RECREATIONAL GROUP,
 LLC, et al,

                  Defendants.


        JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

1.    Description of Case:

      (a)    Describe briefly the nature of this action.

      This is a civil action alleging infringement of United States Patent No.

10,870,951 (the “‘951 Patent”). Plaintiffs seek judgment that Defendants infringed

and continue to infringe the ‘951 Patent by making, using, selling, offering for sale,

and/or importing the Polygreen Pro foam products, in violation of 35 U.S.C.

§ 271(a).

      Plaintiffs seek damages sufficient to compensate Plaintiffs for Defendants’



                                          1
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 2 of 23




alleged infringement of the ‘951 Patent, including lost profits allegedly suffered by

Plaintiffs as a result of Defendants’ alleged infringement and in an amount not less

than a reasonable royalty. Plaintiffs also seek treble damages under 35 U.S.C. § 284

as a result of Defendants’ alleged willful and deliberate infringement, as well as an

award of attorneys’ fees, costs and expenses on the grounds that this is an exceptional

case under 35 U.S.C. § 285. Plaintiffs further request a permanent injunction against

Defendants to prevent ongoing infringement of the ‘951 Patent.

      Defendants have asserted that (1) one or both Plaintiff fails to state a claim

upon which relief may be granted; (2) one or both Plaintiffs lacks standing; (3) they

do not infringe the ‘951 Patent; (4) the ‘951 Patent is invalid; (5) the ‘951 Patent is

unenforceable due to inequitable conduct at the US Patent Office in the application

of the ‘951 Patent; and (6) in any event, an injunction is not warranted. Defendants

have asserted counterclaims seeking declaratory relief on the above grounds of

noninfringement, invalidity, and unenforceability. Defendants further seek

attorneys’ fees on the grounds that this is an exceptional case under 35 U.S.C. § 285

and under O.C.G.A. § 13-6-11.

      Defendant Poly-Green has further asserted counterclaims for false advertising

under 15 U.S.C. § 1125(a) and violations of the “fair business practices act,” where

both counterclaims are based on the same three statements recited on Plaintiffs’


                                          2
          Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 3 of 23




website. Defendant Poly-Green seeks damages in the form of Plaintiffs’ sales of the

Turf Cushion product. Poly-Green also seeks treble damages and the costs of the

action under 15 U.S.C. § 1117(a), O.C.G.A. § 10-1-399(c), and O.C.G.A. § 10-1-

399(d).



      (b)     Summarize, in the space provided below, the facts of this case. The
              summary should not be argumentative nor recite evidence.

      Plaintiffs’ summary:

      ProdTek is a research and consulting company that developed an innovative

protective foam layer for use in activity surfaces. In order to be safe for people to

use as activity surfaces, such as playgrounds and athletic fields, the padding used

beneath such activity surfaces are required to meet certain safety standards. One

such standard is described in ASTM F1292-17, which sets the minimum impact

attenuation performance requirements for playground surfacing materials. ProdTek

developed a novel and innovative foam pad for use under such activity surfaces that

exceeded the performance requirements of ASTM F1292-17. On March 7, 2018,

inventors John Karr and Keith Pavlansky filed a patent application directed towards

these novel foam pads and methods of making the same, which ultimately issued on

December 22, 2020 as the ‘951 Patent. The inventors assigned the ‘951 Patent to

Turf Cushion. Turf Cushion markets and sells commercial embodiments of the

                                         3
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 4 of 23




protective foam layer under the tradename TURF CUSHIONTM.

      On or around August 14, 2018, Defendants approached Plaintiffs to discuss a

potential business arrangement regarding Plaintiffs’ TURF CUSHIONTM product.

Prior to any discussions, the parties executed a Mutual Confidentiality Agreement

to ensure the confidentiality of any materials disclosed as part of the parties’

discussions.   With the executed Mutual Confidentiality Agreement in place,

Plaintiffs shared with Defendants certain confidential materials and information

related to the TURF CUSHIONTM product. Initially, Defendants expressed an

interest in acquiring Turf Cushion, but Plaintiffs declined this offer. Defendants then

suggested that they could simply produce their own product similar to the TURF

CUSHIONTM product. In response, Plaintiffs informed Defendants that they had

filed a patent application to protect aspects of the TURF CUSHIONTM product and

proposed that Plaintiffs could supply Defendants with a rebranded version of the

TURF CUSHIONTM product that Defendants could resell to their customers.

      Believing that Defendants were negotiating a potential business arrangement

in good faith, from October 2018 until February 2020, Plaintiffs continued to engage

in discussions with Defendants and continued to provide certain confidential

materials and information related to the TURF CUSHIONTM product. In or around

March 2020, however, discussions with Defendants inexplicably ceased. Also in or


                                          4
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 5 of 23




around March 2020, despite knowledge of Plaintiffs’ then pending patent

application, Defendants began to market and sell its own competing line of non-

composite protective foam layers under the tradename “Polygreen Pro.” Plaintiffs

allege, based on publicly available information and pre-suit testing, that Defendants’

Polygreen Pro product infringes one or more claims of the ‘951 Patent.

      Defendants have brought certain counterclaims, seeking declarations that

there is no infringement, or that the ‘951 Patent is either invalid or unenforceable.

Defendant Poly-Green has further brought counterclaims regarding certain

statements that are on Plaintiffs’ website. Those statements are:

       “Our revolutionary new Turf Cushion™ underlay achieves the highest

          performance in the industry as measured by GMAX and HIC readings.”

       “Competitor products require stacking to reach comparable levels of

          protection, creating a less stable and more time-consuming installation.”

       “Our precision molded process produces a consistent composition and

          height, which leads to a uniform level of shock attenuation and resiliency

          throughout the installation.”


Poly-Green alleges that these statements are false and have caused Poly-Green

damages. Plaintiffs state that the false statements are not actionable and/or are true,

and therefore there can be no harm to Poly-Green.

                                          5
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 6 of 23




      Defendants’ summary:

      Defendants dispute the vast majority of Plaintiffs’ summary of facts. In this

case, the parties considered but did not enter into any business relationship. Instead,

Poly-Green simply decided to purchase foam padding from a third party. Neither

Defendant makes, nor instructs anyone on how to make, foam. And The Recreational

Group does not make, use, sell, offer to sell, or import any product whatsoever.

      Not only does the foam that Poly-Green ultimately purchased instead of

Plaintiffs’ foam (Ethafoam® 180) not meet the requirements of any claim of U.S.

Pat. No. 10,870,951, but it has been commercially available since at least as early as

October 2009 – years before the ‘951 Patent was filed. So if the accused product is

found to infringe the ‘951 Patent, the patent should be found invalid. Defendants

also expect to prove that claims of the ‘951 Patent are invalid and unenforceable

based on additional prior art and the fact that Plaintiffs withheld documents from the

Patent Office. At least because of a lack of pre-suit diligence and a lack of any

colorable basis for Plaintiffs’ claim construction positions, Defendants assert that it

should be awarded its fees under O.C.G.A. § 13-6-11 and 35 U.S.C. § 285.

      In addition to the patent issues raised in this case, Poly-Green asserts false

advertising claims and state law claims based on false advertisements that Turf

Cushion has made.


                                          6
           Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 7 of 23




          (c)   The legal issues to be tried are as follows:

          1.    Whether Defendants’ Polygreen Pro products infringed, and continue to

infringe, one or more claims of the ‘951 Patent;

          2.    Whether the ‘951 Patent is valid and enforceable;

          3.    If there is infringement, whether Defendants’ acts of infringement of one or

more claims of the ‘951 Patent are willful and in reckless disregard of Plaintiffs’ patent

rights;

          4.    If there is infringement, the amount of damages adequate to compensate

Plaintiffs for Defendants’ infringement of one or more claims of the ‘951 Patent;

          5.    If there is infringement, whether Defendants should be enjoined from

continued acts of infringement of one or more claims of the ‘951 Patent;

          6.    Whether, based on the totality of the circumstances, this is an exceptional

case in favor of either Plaintiffs or Defendants.

          7.    Whether the complained of statements in Poly-Green’s counterclaims

constitute false advertising or otherwise violate Georgia law.

          8.    Whether Defendants, on their counterclaims, are entitled to any relief or an

award of their damages, costs, and attorneys’ fees.



          (d)   The cases listed below (include both style and action number) are:



                                              7
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 8 of 23




           (1)    Pending Related Cases:

           N/A

           (2)    Previously Adjudicated Related Cases:

           N/A

2.   This case is complex because it possesses one (1) or more of the features listed
     below (please check):

     _____ (1) Unusually large number of parties
     _____ (2) Unusually large number of claims or defenses
     ___ (3) Factual issues are exceptionally complex
     _____ (4) Greater than normal volume of evidence
     _____ (5) Extended discovery period is needed
     _____ (6) Problems locating or preserving evidence
     _____ (7) Pending parallel investigations or action by government
     ___ (8) Multiple use of experts
     _____ (9) Need for discovery outside United States boundaries
     ___ (10) Existence of highly technical issues and proof
     _____ (11) Unusually complex discovery of electronically stored information

3.   Counsel:

     The following individually-named attorneys are hereby designated as lead
     counsel for the parties:

     For Plaintiff:

           Warren J. Thomas

     For Defendant:

           Jason J. Carter




                                         8
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 9 of 23




4.    Jurisdiction:

      Is there any question regarding this court’s jurisdiction?

             Yes          __X__ No

5.    Parties to This Action:

(a)   The following persons are necessary parties who have not been joined:

At this time, there are no known third-parties that are necessary to this Action.



      (b)    The following persons are improperly joined as parties:
N/a




      (c)    The names of the following parties are either inaccurately stated or
             necessary portions of their names are omitted:



N/a




      (d)    The parties shall have a continuing duty to inform the court of any
             contentions regarding unnamed parties necessary to this action or any
             contentions regarding misjoinder of parties or errors in the statement of
             a party’s name.




                                          9
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 10 of 23




6.    Amendments to the Pleadings:

      Amended and supplemental pleadings must be filed in accordance with the
      time limitations and other provisions of FED. R. CIV. P. 15. Further
      instructions regarding amendments are contained in LR 15.

      (a)   List separately any amendments to the pleadings which the parties
            anticipate will be necessary:

No amendments to the pleadings are anticipated at this time.




      (b)   Amendments to the pleadings submitted LATER THAN JUNE 16,
            2022, will not be accepted for filing, unless otherwise permitted by law.


7.    Filing Times For Motions:

      All motions should be filed as soon as possible. The local rules set specific
      filing limits for some motions. These times are restated below.

      All other motions must be filed WITHIN THIRTY (30) DAYS after the
      beginning of discovery, unless the filing party has obtained prior permission
      of the court to file later. Local Rule 7.1A(2).

            (a)    Motions to Compel: before the close of discovery or within the
                   extension period allowed in some instances. Local Rule 37.1.

            (b)    Summary Judgment Motions: within thirty (30) days after the
                   close of discovery, unless otherwise permitted by court order.
                   Local Rule 56.1.

            (c)    Other Limited Motions: Refer to Local Rules 7.2A, 7.2B, and
                   7.2E, respectively, regarding filing limitations for motions
                   pending on removal, emergency motions, and motions for
                   reconsideration.


                                        10
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 11 of 23




             (d)    Motions Objecting to Expert Testimony: Daubert motions with
                    regard to expert testimony no later than the date that the proposed
                    pretrial order is submitted. Refer to Local Rule 7.2F.

8.    Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with FED. R.
      CIV. P. 26. If any party objects that initial disclosures are not appropriate,
      state the party and basis for the party’s objection. NOTE: Your initial
      disclosures should include electronically stored information. Refer to FED. R.
      CIV. P. 26(a)(1)(B).

The parties do not object to serving initial disclosures, to be exchanged by the parties

by February 14, 2022.


9.    Request for Scheduling Conference:

      Does any party request a scheduling conference with the Court? If so, please
      state the issues which could be addressed and the position of each party.



The Parties do not request a scheduling conference at this time. The Parties have

agreed to the schedule attached at Exhibit A, which is in accord with the Court’s

Local Rules and Local Patent Rules, and respectfully request that the Court adopt it.




10.   Discovery Period:

      The discovery period commences thirty days after the appearance of the first
      defendant by answer to the complaint. As stated in LR 26.2A, responses to

                                          11
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 12 of 23




      initiated discovery must be completed before expiration of the assigned
      discovery period.

      Cases in this court are assigned to one of the following three (3) discovery
      tracks: (a) zero month discovery period, (b) four months discovery period,
      and (c) eight months discovery period. A chart showing the assignment of
      cases to a discovery track by filing category is contained in Appendix F. The
      track to which a particular case is assigned is also stamped on the complaint
      and service copies of the complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

By setting forth the below categories of potential discovery, the Parties do not

necessarily agree to the relevancy of the categories asserted and reserve all rights to

object to the relevancy and scope of discovery as it proceeds.

Plaintiffs/Counterclaim-Defendants anticipate seeking discovery and depositions of

Defendants and third parties relating at least to the following:

          a. The design, development, manufacture, testing, use, sales, profitability,

             and marketing of the accused Polygreen Pro products.

          b. Samples and/or an inspection of the accused Polygreen Pro products.

          c. Documents and testimonial discovery related to confidential

             information obtained by Defendants from Plaintiffs.

          d. Defendants’ knowledge, discussions, and/or communications regarding

             Plaintiffs’ Turf Cushion product.

          e. The level of ordinary skill in the art of the ‘951 Patent.


                                          12
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 13 of 23




          f. Defendants’ noninfringement arguments and their basis.

          g. Documents and testimonial discovery related to the validity of the ‘951

             Patent, including Defendants’ invalidity arguments and their basis.

          h. Defendants’ arguments related to the unenforceability of the ‘951

             Patent and their basis.

          i. Sales of Polygreen Pro, including revenue, costs, convoyed sales, and

             other related financial information.

          j. Documents and testimonial discovery related to the underlying basis

             for Defendants’ affirmative defenses and counterclaims.

          k. Documents and testimonial discovery related to the organizational

             structure of Defendants.



Defendants/Counterclaim-Plaintiffs anticipate seeking discovery and depositions of

Plaintiffs and third parties relating at least to the following:

          a. Claim construction.

          b. Patent infringement.

          c. Patent invalidity.

          d. Prosecution of the ‘951 Patent.

          e. Ownership of the ‘951 Patent.


                                           13
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 14 of 23




            f. Plaintiffs’ pre-suit investigation.

            g. The statements set forth in Poly-Green’s false advertising counts.

            h. Plaintiffs’ sales.

            i. Samples and/or an inspection of the accused Polygreen Pro products.



      If the parties anticipate that additional time beyond that allowed by the
      assigned discovery track will be needed to complete discovery or that
      discovery should be conducted in phases or be limited to or focused on
      particular issues, please state those reasons in detail below:

At this time, the Parties do not anticipate requiring additional time beyond that

allowed by the standard discovery schedule in the Northern District of Georgia for

patent cases. The Parties, however, reserve the right to request additional time as

needed and in accordance with the Federal Rules of Civil Procedure and the Local

Rules and standing orders of this Court.



11.   Discovery Limitation:

      (a)    What changes should be made in the limitations on discovery imposed
             under the Federal Rules of Civil Procedure or Local Rules of this Court,
             and what other limitations should be imposed?
The parties agree that no changes are needed.



       (b)     Is any party seeking discovery of electronically stored information?


                                            14
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 15 of 23




            __X__ Yes                   No

      If “yes,”

      (1)   The parties have discussed the sources and scope of the production of
            electronically stored information and have agreed to limit the scope of
            production (e.g., accessibility, search terms, date limitations, or key
            witnesses) as follows:

                     The parties have agreed to confer regarding e-discovery and

            anticipate that they will be able to reach agreement on the specific

            protocols. Once discovery requests are served the parties will confer

            regarding appropriate protocols and search terms. If issues arise that

            cannot be resolved, then the parties will raise such issues with the

            Court.

      (2)   The parties have discussed the format for the production of
            electronically stored information (e.g., Tagged Image File Format
            (TIFF or .TIF files), Portable Document Format (PDF), or native), and
            the inclusion or exclusion and use of metadata, and have agreed as
            follows:

      The parties agree to undertake reasonable efforts to comply with the following

method to produce all electronically stored information (ESI), or to discuss issues

regarding production in order to produce ESI in a suitable manner. The parties agree

to make reasonable efforts to de-duplicate the documents prior to production.

      When reasonably possible, the parties further agree to do as follows. The

Parties agree to produce Bates-stamped TIFFs of native files and agree to provide

                                        15
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 16 of 23




the metadata fields identified below where such information exists. To the extent

materials are not easily produced in this format, the Parties agree to discuss such

issues in good faith in order to attempt to reach an agreement about format, but in

general the Parties expect to produce: 1.) Extracted Text, 2.) Images (Tiff/JPG), and

3.) Metadata (DAT and OPT). This production format also applies to image-redacted

documents. Further, the Parties agree that it is preferable, where possible and

appropriate, to produce hard-copy records as scanned images. The Parties reserve

the right to request something different or object to this format on a case-by-case

basis. In such an instance, if the Parties are unable to agree about production formats

or the inclusion metadata, the Parties will promptly seek a discovery conference with

the Court. Native files shall be provided in place of TIFF images for documents that

are not reasonably usable in image format, such as spreadsheets, CAD files, audio

and video files, or documents that cannot be converted to images. Further, the parties

agree to cooperate reasonably and to consult regarding their respective litigation

support systems and further agree to cooperate reasonably to produce document

images in a form that is compatible with the opponent’s system where possible.

      The parties agree that each production of documents should be organized into

the following subfolders:

    DATA – contains DAT file and OPT file


                                          16
Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 17 of 23
Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 18 of 23
       Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 19 of 23




13.   Settlement Potential:


      (a)    Lead counsel for the parties certify by their signatures below that they
             conducted a Rule 26(f) conference that was held on January 26, 2022,
             and that they participated in settlement discussions. Other persons who
             participated in the settlement discussions are listed according to party.

      For plaintiff: Lead counsel (signature): /s/ Warren Thomas

             Other participants: Steven M. Philbin

      For defendant: Lead counsel (signature): /s/ Jason Carter

           Other participants: Justin Poplin, Megan
      Cambre__________________________________

      (b)    All parties were promptly informed of all offers of settlement and
             following discussion by all counsel, it appears that there is now:

      (____) A possibility of settlement before discovery.
      (__X__) A possibility of settlement after discovery.
      (____) A possibility of settlement, but a conference with the judge is needed.
      (____) No possibility of settlement.

      (c)    Counsel (__X___) do or (_____) do not intend to hold additional
             settlement conferences among themselves prior to the close of
             discovery.

      (d)    The following specific problems have created a hindrance to settlement
             of this case.

Plaintiffs: Defendants declined Plaintiffs’ request to provide any sales information

(in advance of and absence of formal discovery), to allow a meaningful settlement

proposal by Plaintiffs.


                                         19
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 20 of 23




Defendants: The parties have an extreme disagreement on claim construction, and

this has prevented meaningful settlement discussions.

14.   Trial by Magistrate Judge:


      Note: Trial before a Magistrate Judge will be by jury trial if a party is
      otherwise entitled to a jury trial.

      (a)   The parties (_____) do consent to having this case tried before a
            magistrate judge of this court. A completed Consent to Jurisdiction by
            a United States Magistrate Judge form has been submitted to the clerk
            of court this _____ day ___________________________, of 2022.

      (b)   The parties (__X___) do not consent to having this case tried before a
            magistrate judge of this court.




                                        20
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 21 of 23




      Respectfully submitted this 14th day of February 2022.



/s/   Warren Thomas                           /s/   Jason Carter (with permission)


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                                       21
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 22 of 23




                             *************
                            SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report and

Discovery Plan form completed and filed by the parties, the Court orders that the

time limits for adding parties, amending the pleadings, filing motions, completing

discovery, and discussing settlement are as set out in the Federal Rules of Civil

Procedure and the Local Rules of this Court, except as herein modified:

      IT IS SO ORDERED, this _____ day of _______________________, 2022.



                               _________________________________

                               UNITED STATES DISTRICT JUDGE
                               NORTHERN DISTRICT OF GEORGIA




                                        22
      Case 4:21-cv-00204-LMM Document 30 Filed 02/14/22 Page 23 of 23




                         CERTIFICATE OF SERVICE

       I, the undersigned counsel, hereby certify that on February 14, 2022, a true
and correct copy of the foregoing Joint Preliminary Report and Discovery Plan
was electronically filed with the Clerk of Court using the CM/ECF system which
will automatically send notification of such filing to all attorneys of record.

                                      /s/ Warren Thomas




                                        23
